Case 2:04-cr-20199-SH|\/| Document 55 Filed 05/17/05 Page 1 of 2 Page|D 68

IN TH.`E U'NITED STATES DIS'I‘RICT CO'[J’RTHL.H.');;!';`M
FOR TI'IE WESTERN DISTRICT OF TENN`ESSEE

 

 

WESTERN DIVISION GSHAYij PH !:ME
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LE?~"H‘L ;j..§;._ UiS|. U|.
\¢‘? D Cl;-§' "?3: .".;';ET~APL»HS
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
VS' ) cR. No. 04-20199_Ma
)
JUDUNE BROWN, )
)
Defendant. )

 

OR.DER ON CONTINUANCE AND SPECIFYING PERIOD OF EX.CLUDABLE DELAY

 

This cause came on for‘ a report. date on. April 21, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

Tbe Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Tuesday, May 31, 2005 at 2:00 p.m.

The period fron1 April 2l, 2005 through. June l7, 2005 is
excludable under 18 U.S.C. § 3l6l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this {?14\ day of May, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Th|s document emeved on '.i".'_= docket Shsst in compliance

with Rule 55 and/er 32(b) FHCrF' on 5//| g"OS'

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Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
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Honorable Samuel Mays
US DISTRICT COURT

